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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JRSK, Inc.,

                                        Plaintiff,
                v.                                                Civil Action No. _ _ _ _ _ __

Prized Ventures Ltd. and Monos Travel Ltd.,                               COMPLAINT

                                       Defendants.


            Plaintiff, JRSK, Inc., by its attorneys, Fross Zelnick Lehrman & Zissu, P.C., for its

Complaint against Prized Ventures Ltd. and Monos Travel Ltd., collectively doing business as

Monos (hereinafter together and individually "Defendant") alleges the following:

                                           NATURE OF THE ACTION

                1.      Plaintiff, JRSK, Inc., doing business as AWAY, is a well-known and highly

successful designer, manufacturer, and retailer of luggage for the modem traveler. Defendant,

Prized Ventures Ltd., doing business as MONOS, is a new company threatening to launch a line

of luggage that copies the distinctive design (or "trade dress") of Plaintiffs famous AWAY®

luggage, and is copying the look and feel of Plaintiffs AWAY website.

            2.          Not only is Defendant's conduct threatening to damage Plaintiff, and to cause

immediate and irreparable harm to Plaintiff, but it also threatens to deceive the public.

            3.           Accordingly, Plaintiff asserts claims for unfair competition under Section 43(a) of

the Trademark Act, 15 U.S.C. § 1125(a); and substantial and related claims under New York



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unfair competition law. Plaintiff seeks injunctive reliefto prevent further injury, as well as

monetary relief in the form of Plaintiff's damages, punitive damages, any profits of Defendant,

attorneys' fees, interest, and such other relief as the Court deems just and proper.


                                                 PARTIES

            4.      Plaintiff, JRSK, Inc., is a corporation organized and existing under the laws of

Delaware, with a principal place of business at 419 Lafayette Street, New York, NY 10003.

            5.      On information and belief, each defendant is a corporation organized and existing

under the laws of Canada, with its principal place of business at 1383 West 8th Avenue,

Vancouver, BC V6H3V9, Canada.


                                     JURISDICTION AND VENUE

            6.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1332 in that the amount in controversy exceeds the sum or value of $75,000 and is between

citizens of New York and of Canada, and under Section 39 of the Trademark Act of 1946 (the

"Lanham Act"), 15 U.S.C. § 1121, and under Sections 1331, 1338(a) and 1338(b) ofthe Judicial

Code, 28 U.S.C. §§ 1331, 1338(a) and 1338(b). The Court has supplemental jurisdiction over

the state law claims under Section 1367(a) of the Judicial Code, 28 U.S.C. § 1367(a).

            7.      This Court has personal jurisdiction over Defendant because Defendant is selling

or offering its infringing products for sale in this district and actively seeking capital to finance

those products through Kickstarter, which is based in New York.

            8.      Venue is proper in this district under Section 1391(b) of the Judicial Code, 28

U.S.C. § 139l(b) and (c)(3).




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                              FACTS COMMON TO ALL CLAIMS FOR RELIEF

A.           Plaintifrs Business and Trade Dress

                 9.      Plaintiff, JRSK, Inc., based in New York City, sells highly successful lines of

luggage under the AWAY brand. Plaintiffs products are available through its online store at

www.awaytravel.com and at its own stores in New York City, Los Angeles, San Francisco,

London, Austin, TX, Chicago O'Hare International Airport, and additional stores opening before

the end of 2018 in Chicago and Boston.

                 10.     Plaintiff is best known for a line of hard-sided suitcases that share the same design

(the "polycarbonate collection"). The suitcases in this line are available in five sizes ("The

Carry-On," "The Bigge.r Carry-On," "The Medium," "The Large," and the "Kids Carry-On").

As a result of the talent of its designers, hard work and significant financial investment, Plaintiff

developed a distinctive, sophisticated design (or trade dress) for the polycarbonate collection

having the following unique and distinctive combination of elements:

                         a.     The overall shape of the suitcase is a rounded rectangle, whether viewed

                                from the front, the side, or the top;

                         b.     The surface of the suitcase has horizontal, indented ridges, which extend

                                around the sides of the suitcase;

                         c.     The AWAY trademark is shown on a name plate in a small, rounded

                                rectangular indentation on the front of the suitcase;

                         d.     Apart from the horizontal ridges and name plate, there are no lines,

                                borders, metal plates, or other embellishments on the surface of the

                                suitcase, giving the suitcase its clean, minimalist look;

                         e.     The polycarbonate material has a matte finish in muted colors;




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                      f.     There are two black handles on the top: one is fixed and the other

                             telescopes, allowing the suitcase to be pulled;

                      g.     The fixed handle is a wide, flat ribbon shape with rounded ends. The user

                             can lift it slightly, and, when lifted, it has the shape of a low, wide bell

                             curve. The same handle design is used on the side of the suitcase;

                      h.     The top of the telescoping handle has an elongated shape, with the ends of

                             the handle extending somewhat beyond the width of the two telescoping

                             struts; the telescoping handle extends from a black framed housing;

                      1.     The suitcase is held closed by a recessed zipper, which extends around the

                             suitcase;

                      J.     The zipper is held in place and framed by a black welt, which provides a

                             contrasting color on light-colored suitcases;

                      k.     There is a combination lock at the top of the suitcase; the lock is flush

                             with the surface of the suitcase, in keeping with the minimalist design; the

                             suitcase can be locked by inserting the ends of the zipper into the

                             combination lock;

                      1.     The suitcase rolls on four wheels, which are attached to the suitcase by

                             indented housings, which allows the shape of the bottom of the suitcase to

                             mirror the rounded top of the suitcase; the wheels and wheel housings are

                             black, which is another contrasting detail on light-colored suitcases.

                11.   The following photographs show the trade dress:




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                12.   The foregoing combination of design elements is non-functional.

                13.   Plaintiff's luggage has been enormously successful. In the past 12 months alone,

the luggage has been featured in approximately 2000 stories in the press, many of which

illustrate the trade dress, and many feature well-known celebrities along with the trade dress. The

luggage has been shown in a number of successful television shows, including Homeland and

Blackish. Plaintiff has endorsement arrangements with a number of celebrities, including NBA

star Dwyane Wade. Plaintiff's Facebook page has garnered over 84,000 "likes." Plaintiff's


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Instagram account has 305,000 followers. Plaintiff was recently listed in Forbes magazine's list

of"The Next Billion-Dollar Startups 2018."

            14.    As a result of Plaintiffs efforts and the tremendous success of Plaintiffs

products, Plaintiffs trade dress has acquired secondary meaning, in that it has come to identify

Plaintiff exclusively and uniquely in its field.

            15.    The trade dress represents enormous goodwill of Plaintiff, signifying products

that are of the highest quality and that derive exclusively from Plaintiff.

            16.    Plaintiff will suffer irreparable harm if Defendant is allowed to trade on Plaintiffs

reputation and goodwill by offering goods that copy Plaintiffs trade dress.

B.          Defendant's Unlawful Conduct

            17.    Defendant is currently advertising a line ofluggage under the MONOS mark that

is virtually identical to Plaintiffs AWAY polycarbonate line.

            18.    Defendant's luggage is shown below:




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               19.               Defendant has made minimal changes to Plaintiff's design, to avoid being accused

of selling out-and-out counterfeits. These changes, such as varying the spacing ofthe indented

ridges, and moving the placement of the logo from the upper right to the upper center of the

suitcase, would not be noticeable to a consumer unless the consumer places the two suitcases

side by side.

               20.               Defendant's website copies the overall look and feel of the AWAY website and

uses product photographs that mimic those on Plaintiff's website.

               21.               In addition, Defendant has copied a graphic representation from Plaintiff's

website that explains how it allows consumers to save money.

                           From Away's Website:                                           From Monos's Website:




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               22.               Defendant claims that it intends to launch imminently an initial round of funding

on the crowdfunding website Kickstarter, in which consumers will be able to invest in Defendant

and purchase Defendant' s products at a discount.




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            23.    Defendant's line ofluggage is directed to the exact same customers and potential

customers as those for Plaintiffs products.

            24.    Customers and potential customers could easily believe, mistakenly, that

Plaintiffs business and Defendant's business are one and the same, that Defendant's products

are a line extension of Plaintiff, or that Defendant is an affiliate of Plaintiff, or that Plaintiff

licenses, endorses or approves of Defendant's business or products, or that Plaintiff and

Defendant are otherwise connected or associated.

            25.    Even the most careful consumer is likely to be confused by Defendant's use of

Plaintiff's trade dress.

C.         Harm Caused by Defendant's Infringing Conduct

            26.    On information and belief, Defendant's conduct is intended to cause confusion

and is intentionally fraudulent, malicious, willful, and wanton.

            27.     Defendant's conduct appears to be calculated to confuse and mislead consumers,

to divert business from Plaintiff and otherwise to misappropriate the goodwill of Plaintiff.

                                  FIRST CLAIM FOR RELIEF:
                            UNFAIR COMPETITION (15 U.S.C. § 1125(a))

            28.     Plaintiff owns a valid and protectable trade dress, consisting of a number of non-

functional elements, as more fully described above.

            29.     By virtue of extensive sales, advertising and promotion, as well as editorial

references and other marketing, the foregoing trade dress has acquired secondary meaning, and

thus identifies Plaintiff as the source of the goods.

            30.     Defendant has copied Plaintiffs trade dress.

            31.     Defendant's copying of Plaintiff's trade dress is likely to cause confusion or to

cause mistake or to deceive customers, potential customers, the public, and the media as to the



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affiliation, connection or association between Defendant and Plaintiff, or as to the origin,

sponsorship or approval of Defendant's products.

                 32.   This conduct is in effect a representation that Defendant is connected with or

authorized by Plaintiff, and places Plaintiff's own reputation and goodwill beyond Plaintiff's

control.

                 33.   On information and belief, Defendant's conduct is willful, deliberate and in bad

faith, and undertaken with full knowledge of Plaintiff's rights and for the deliberate purpose of

harming Plaintiff and its goodwill.

                 34.   As a result of the foregoing, Defendant has falsely designated the origin of its

products and has engaged in unfair competition, in violation of Section 43(a) of the Lanham Act,

15 U.S.C. § 1125(a).

                 35.   Defendant's conduct has caused and is causing irreparable injury to Plaintiff, and,

unless enjoined by this Court, will continue both to damage Plaintiff and to deceive the public.

Plaintiff has no adequate remedy at law.


                                    SECOND CLAIM FOR RELIEF:
                                 COMMON LAW UNFAIR COMPETITION

                 36.   Defendant's conduct constitutes unfair competition under the common law of the

State of New York.

                 37.   On information and belief, Defendant's conduct is willful, deliberate and in bad

faith.

                 38.   Defendant's conduct has caused and is causing irreparable injury to Plaintiff, and,

unless enjoined by this Court, will continue both to damage Plaintiff and to deceive the public.

Plaintiff has no adequate remedy at law.




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                                  THIRD CLAIM FOR RELIEF:
                       DECEPTIVE TRADE PRACTICES IN VIOLATION OF N.Y.
                                     GEN. BUS. LAW§ 349

            39.        By copying Plaintiff's trade dress, Defendant has engaged in activities that

deceive or have a tendency to deceive a material segment of the public to which Defendant has

directed its marketing activities.

            40.        On information and belief, through such deceptive acts, Defendant has engaged in

consumer-oriented conduct that has affected the public interest of New York and has resulted in

injury to consumers and harm to the public in the State ofNew York.

            41.        On information and belief, Defendant's conduct is willful and in knowing

disregard of Plaintiff's rights.

            42.        By virtue of the foregoing, Defendant has engaged in deceptive acts or practices

in the conduct of its business, in violation of Section 349 of the General Business Law of the

State ofNew York.

            43.        Defendant's conduct has caused and is causing irreparable injury to Plaintiff, and,

unless enjoined by this Court, will continue both to damage Plaintiff and to deceive the public.

Plaintiff has no adequate remedy at law.


            WHEREFORE, Plaintiff respectfully demands judgment as follows:

                1) Entering judgment for Plaintiff on each of its claims.

            2) Directing that Defendant, and its partners, officers, agents, privies, shareholders,

principals, directors, licensees, attorneys, servants, employees, affiliates, subsidiaries, successors

and assigns, and all persons acting in concert or in participation with any of them, be

preliminarily and permanently enjoined from:




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                    a.       Using or copying Plaintiffs trade dress, including without limitation

            from manufacturing, importing, selling, offering for sale, advertising, or promoting

            Defendant's MONOS luggage; as well as copying the look and feel of Away website;

                    b.       Using any other false designation of origin or false description or

            representation or any other thing calculated or likely to cause confusion or mistake in the

            mind of the public or the media or to deceive the public or the media into believing that

            Defendant's products, services or activities are in any way sponsored, licensed, endorsed,

            or authorized by, or affiliated, associated or connected with, Plaintiff, or originate from

            Plaintiff;

                    c.       Doing any other acts or things calculated or likely to cause confusion or

            mistake in the mind of the public or to lead the public into the belief that the goods or

            services promoted, offered, or rendered by Defendant emanate from or originate with

            Plaintiff, or are somehow sponsored, licensed, endorsed, or authorized by, or affiliated,

            associated or connected with, Plaintiff, or originate from Plaintiff;

                    d.       Engaging in any other activity constituting unfair competition with

            Plaintiff or constituting an infringement of Plaintiffs trade dress;

                    e.       Assisting, aiding, or abetting any other person or business entity in

            engaging in or performing any of the activities referred to in the above subparagraphs (a)

            through (d), or effecting any assignments or transfers, forming new entities or

            associations or utilizing any other device for the purpose of circumventing or otherwise

            avoiding the prohibitions set forth in subparagraphs (a) through (d).

            3)      Directing that Defendant deliver up to Plaintiff for destruction or other

disposition, without any compensation to Defendant, all products, labels, tags, signs, stationery,




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prints, packages, molds or the like, parts or partially completed products, promotional and

marketing materials, advertisements and other materials currently in their possession or under its

control incorporating, featuring or bearing Plaintiffs trade dress.

            4)        Directing such other relief as the Court may deem appropriate to prevent the

public from deriving the erroneous impression that any goods or services sold or rendered or

promoted by Defendant are authorized by Plaintiff or related in any way to Plaintiff or Plaintiffs

business, or that Defendant is otherwise affiliated with Plaintiff.

            5)        Directing Defendant to file with the Court and serve on counsel for Plaintiff

within thirty (30) days after entry of judgment, a sworn written statement setting forth in detail

the manner and form in which Defendant has complied with paragraphs 2 through 4 above.

            6)        Directing Defendant to account for and pay to Plaintiff its profits, gains, property

and advantages attributable to the unlawful conduct.

            7)        Awarding Plaintiff such damages that it has sustained or will sustain by reason of

Defendant's unlawful conduct, as well as punitive damages.

                8)    Pursuant to 15 U.S.C. § 1117(a), awarding Plaintiff an amount up to three times

the amount of actual damages sustained as a result of Defendant's violations of the Lanham Act.

            9)        Awarding Plaintiff the costs of this action including reasonable attorneys' fees

pursuant 15 U.S.C. § 1117 and applicable state law.

                10)   Awarding Plaintiff interest, including pre-judgment interest, on the foregoing

sums.

                11)   Awarding Plaintiff such other and further relief as the Court deems just and

proper.




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Dated: New York, New York                   FROSS     LNICK LEHRM~N fJ Z~SSU, P.C.
       November 16, 2018
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